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Case 5:22-cv-05011-TLB Document 46-3                                            Filed 03/06/23 Page 2 of 3 PageID #: 361


Mike


From: Miranda Lawrence <miranda@jowenslawfirm.com>
Sent: Tuesday, February 28, 2023 12:56 PM
To: 'Ryan Smith' <RSMITH@RoseLawFirm.com>; Mike Mosley <mosley@jowenslawfirm.com>
Cc: Bourgon Reynolds <BREYNOLDS@RoseLawFirm.com>; Luke Vance
<LVANCE@RoseLawFirm.com>
Subject: RE: Wooten Depos

Good Afternoon,

I have listed Mike’s available dates below. If additional dates are needed
please let me know, our March calendar is filling up quickly and we don’t
have many open dates.

March 7th, 8th, 10th, 20th

Thanks,

-Miranda

From: Ryan Smith <RSMITH@RoseLawFirm.com>
Sent: Tuesday, February 28, 2023 9:12 AM
To: Mike Mosley <mosley@jowenslawfirm.com>; Miranda Lawrence
<miranda@jowenslawfirm.com>
Cc: Bourgon Reynolds <BREYNOLDS@RoseLawFirm.com>; Luke Vance
<LVANCE@RoseLawFirm.com>
Subject: RE: Wooten Depos

Thanks for this, Mike. And this is to confirm that we will take the depositions of your clients on the
dates you proposed: March 16 (Karas and Hinely) and March 21 (Helder, after 1pm). We will send
notices this week.

Miranda, we are generally available March 6-8 and March 13-21. Once we know your availability, we
will coordinate with our clients.

Thanks,
Ryan

               Ryan Smith
               Associate
               120 East Fourth Street, Little Rock, AR 72201
               p: (501) 377-0485 f: (501) 375-1309
               RoseLawFirm.com


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From: Mike Mosley <mosley@jowenslawfirm.com>
Sent: Tuesday, February 28, 2023 9:01 AM
To: Miranda Lawrence <miranda@jowenslawfirm.com>
Cc: Ryan Smith <RSMITH@RoseLawFirm.com>
Subject: Wooten Depos

Miranda can you please give Mr. Smith my available dates to depose his five clients by Zoom? I'm
unavailable 3/9, 3/10, and I've offered them 3/16 and 3/21 for our Clients' depos in the event the
Court does not stay discovery. Thanks, Mike
